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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF ALABAMA
                                      SOUTHERN DIVISION

In re:                                             )
                                                   )
WELLS FARGO BANK, N.A., as successor               )
by merger to Wachovia Bank, National               )
Association                                        )
                                                   )
Plaintiff,                                         )
                                                   )
v.                                                 )      Civil Action 1:10-cv-00143-KD-B
                                                   )
THE ESTATE OF CHARLES E.                           )
MCNEIL, SR., and MCNEIL AND RAST,                  )
LTD.,                                              )
                                                   )
Defendants.                                        )


                                   NOTICE OF COMPLIANCE

         Jesse D. Slaton and the firm of Warren, Averett, Kimbrough & Marino, LLC, as Receiver

pursuant to the Court’s Order Appointing Receiver dated April 2, 2010, hereby provide notice of

compliance with the reporting duties of Receiver by the filing of the periodic accountings and

reports attached hereto.


                                             /s/ Eric L. Pruitt
                                            ERIC L. PRUITT (PRU 010)

                                            Attorney for Warren Averett,
                                            Kimbrough & Marino, L.L.C.


OF COUNSEL:

BAKER, DONELSON, BEARMAN, CALDWELL & BERKOWITZ, PC
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                                CERTIFICATE OF SERVICE

       I certify that the foregoing has been served on all parties of record by the Court’s ECF
system, this day December 22, 2010.
                                                /s/ Eric L. Pruitt
                                              OF COUNSEL




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                             Receivership Estate of McNeil and Rast, Ltd.
                                Monthly Operating Report Summary
                               For the Month Ended November 30, 2010

                                                                   Month Ended             April Through
                                                                  November 30,2010        November 30,2010

 Rent Revenue                                                 $              23,433   $             187,463
 Other Income                                                                    46                     370
 Plus: Change in Rent Prepaid By Tenant                                      18,715                  37,429
 Plus: Change in Tenant Accounts Receivable                                       -                   2,311
 Cash From Tenants                                                           42,194                 227,573

 Association Charge                                                           2,916                  23,328
 Property Taxes                                                                   -                  12,490
 Other Expenses Incurred                                                      1,203                  20,555
 Receivership Expenses                                                        1,008                  24,883
 Net Available to Wachovia                                                        -                   3,112
 Plus: Change in Rent Prepaid By Tenant                                           -                  18,715
 Change in Accrued Property Taxes                                                 -                 (12,490)
 Change in 2009 Accrued Property Taxes                                       16,891                  35,138
 Change in Accounts Payable                                                   2,229                  (3,187)
 Cash Paid for Expenses                                                      24,247                 122,544

 Net Cash Flow                                                $              17,947   $             105,029

 Beginning Cash                                                             126,154                  39,072

 Ending Cash 11/30/10                                         $             144,101   $             144,101
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Receivership Estate of McNeil and Rast, Ltd.
Monthly Operating Report Transaction Detail
For the Month Ended November 30, 2010


                                                                                                                                                                                                 2009 Accrued                                                               Allocated                            Other
                                                                                               Receivership         Wachovia        AR from         Accounts     Due (to) From Rent Prepaid        Property     Property     Net Available to                              Association    Property Tax         (Income)       Receivership
 Transaction Date                                      Transaction Description                    Cash                Cash          Tenants         Payable       Association   By Tenant           Taxes     Taxes Payable    Wachovia       Rent Revenue                  Charges         Expense            Expense         Expenses
Balance as of 11/1/2010                                                                               164.50         125,990.43       4,629.50        (4,440.50)     (2,916.00)         -                 -      (16,891.00)     (106,536.93)   (164,030.50)                  20,412.00      12,490.00           19,027.02        23,875.00
            11/1/10 Monthly Rent Charge - MS 2862 Dauphin                                                                            16,171.25                                                                                                   (16,171.25)
            11/1/10 Monthly Rent Charge - CA 2864 Suite A                                                                             2,405.00                                                                                                     (2,405.00)
            11/1/10 Monthly Rent Charge - HR 2864 Suite C                                                                             2,312.50                                                                                                     (2,312.50)
            11/1/10 Monthly Rent Charge - LB 2864 Suite D                                                                             2,543.75                                                                                                     (2,543.75)
            11/5/10 Cash Receipt Brownell Travel                                                                          46.25                                                                                                                                                                                     (46.25)
            11/9/10 Receipt of Cash for November Rent- CA 2864 Suite A                                                 2,405.00       (2,405.00)
            11/2/10 Receipt of Cash for November Rent - MS 2862 Dauphin                                               16,171.25      (16,171.25)
            11/3/10 Receipt of Cash for November Rent - LB 2864 Suite D                                                2,543.75       (2,543.75)
          11/29/10 Receipt of Cash for November Rent - HR 2864 Suite C                                                 2,312.50       (2,312.50)
          11/30/10 Receipt of Cash for December Rent - MS 2862 Dauphin                                                16,171.25                                                    (16,171.25)
          11/30/10 Receipt of Cash for December Rent - LB 2864 Suite D                                                 2,543.75                                                     (2,543.75)
            11/1/10 John Toomey & Associates - Allocated Monthly Association Charges                                                                                  (2,916.00)                                                                                               2,916.00
          11/11/10 Johnson Plumbing - labor and materials to pull water heater and cap lines                                                              (150.00)                                                                                                                                                 150.00
          11/22/10 Johnson Plumbing - Install new water heater unit                                                                                       (650.00)                                                                                                                                                 650.00
            11/1/10 John Toomey & Associates - Management Services for November                                                                           (300.00)                                                                                                                                                 300.00
          11/12/10 Baker Donelson - file receivership report for October                                                                                  (103.14)                                                                                                                                                 103.14
            11/9/10 Transfer Funds to Receivership Checking Acct # 1214                            24,247.50         (24,247.50)
            11/9/10 Pmt Baker Donelson - File Receivership report with court
            11/9/10 Pmt Baker Donelson - File Receivership report with court                         (338.50)                                              338.50
            11/9/10 Pmt WAKM Receivership Expenses for October                                     (1,092.00)                                            1,092.00
            11/9/10 Pmt John Toomey & Co - Allocated October Association Dues                      (2,916.00)                                                 -       2,916.00
            11/9/10 Pmt John Toomey & Co - Management Services - leasing                           (2,500.00)                                            2,500.00
            11/9/10 Pmt John Toomey & Co - Monthly Management Services                               (300.00)                                              300.00
            11/9/10 Pmt Keith A/C - repair water leak in Linda-Mood Bell suite                       (210.00)                                              210.00
            11/9/10 Pmt Mobile County Revenue Commission - Property Taxes for 2010                (16,891.00)                                                                                                          16,891.00                                                                    -
          11/30/10 20011 Accrued Property Taxes                                                                                                                                                                        (2,815.00)                                                              2,815.00
          11/30/10 WAKM Receivership Expenses November                                                                                                   (1,008.00)                                                                                                                                                                1,008.00
Balance as of 11/30/10                                                                               164.50          143,936.68        4,629.50          (2,211.14)   (2,916.00)   (18,715.00)             -           (2,815.00)        (122,073.54)      (187,463.00)       23,328.00       15,305.00         20,183.91         24,883.00
                                                                                                                                                                                                                                    Beg Balance            (164,030.50)       20,412.00       12,490.00         19,027.02         23,875.00
                                                                                                                                                                                                                                    Current Month           (23,432.50)        2,916.00        2,815.00          1,156.89          1,008.00

Accounts Receivable by Tenant                                                                                                                                                                                                       Total Paid by       Less Amt Allocated                                Receivership Share of
Horizon Research 2864 Suite C                                                                                   $         4,629 Past due rent Jan, Feb                                                                              Property Mngr       to other Assoc. Members                           Association Expense
                                                                                                                                                                                                 Property Management                $           835 $              351                                    $           484
Total Accounts Receivable from Tenants                                                                          $         4,629                                                                  Utilities                                      3077               1293                                               1785
                                                                                                                                                                                                 Repairs & Maintenance                            676               284                                                 392
                                                                                                                                                                                                 Postage & Misc Expense                            39                16                                                  22
                                                                                                                                                                                                 Taxes                                              0                 0                                                   0
                                                                                                                                                                                                 Total                              $          4,627 $           1,943                                     $         2,684
                                                                                                                                                                                                                                                                                    Billed by Association             2916
                                                                                                                                                                                                                                                                                      Billings in (Excess) $          (232)
                                                                                                                                                                                                                                                                          Prior Month Billings in (Excess)          (2,192)
                                                                                                                                                                                                                                                                              To Date Billings in (Excess)          (2,424)
